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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
                  v.                         )       Criminal No. 22-CR-10038-IT
                                             )
ARIEL LEGASSA,                               )
                                             )
                       Defendant.            )

       UNITED STATES’ MOTION FOR (1) ORDER OF FORFEITURE (MONEY
          JUDGMENT) AND (2) PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by its attorney, Joshua S. Levy, Acting United States

Attorney for the District of Massachusetts, respectfully moves this Court for the issuance of an

Order of Forfeiture (Money Judgment) and a Preliminary Order of Forfeiture in the above-

captioned case pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), 28 U.S.C § 2461(c) and Rule

32.2(b) of the Federal Rules of Criminal Procedure. Proposed Orders of Forfeiture are submitted

herewith. In support thereof, the United States sets forth the following:

       1.      On February 17, 2022, a federal grand jury sitting in the District of Massachusetts

returned a ten-count Indictment, charging defendant Ariel Legassa (the “Defendant”), with Mail

Fraud, in violation of 18 U.S.C. § 1341 (Counts One through Seven); and Money Laundering, in

violation of 18 U.S.C. § 1957 (Counts Eight through Ten). See Docket No. 13.

       2.      The Indictment also included forfeiture allegations, pursuant to 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c), which provided notice that the United States intended to

seek the forfeiture, upon conviction of the Defendant of one or more of the offenses alleged in

Counts One through Seven of the Indictment of any property, real or personal, which constitutes

or is derived from proceeds traceable to the offenses; and pursuant to 18 U.S.C. § 982(a)(1) upon
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conviction of one or more of the offenses alleged in Counts Eight through Ten of any property,

real or personal, involved in such offenses, and any property traceable to such property.

       3.      The Indictment further provided that, if any of the above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party; (c)

has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property which cannot be divided without difficulty,

the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c) and

18 U.S.C. § 982(b).

       4.      On May 13, 2022, the United States filed a Bill of Particulars for Forfeiture of

Assets, providing notice of specific property that the government intended to forfeit pursuant to

18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28 U.S.C. § 2461(c), as a result of violations of 18

U.S.C. § 1341 and 18 U.S.C. § 1957. The Bill of Particulars identified property, real or personal,

which constitutes or is derived from proceeds traceable to the offenses; and any property, real or

personal, involved in such offense, and any property traceable to such property, including but not

limited to the following:

       a. $46,000 in funds held in or on behalf of American Broadcast Employees Federal Credit
          Union Prime share accounts ending in x4170, seized on March 29, 2022 (the “$46,000
          seized from the 4170 Account”);

       b. A 2020 Tesla Model 3, bearing vehicle identification number 5YJ3E1EB4LF639020,
          seized on April 11, 2022 (the “Tesla”); and

       c. A 1972 Piper Aircraft with model number PA-28R-200 bearing serial number 28-R-
          7335039, seized on April 11, 2022 (the “Piper Aircraft”)

(collectively, the “Properties”). See Docket No. 34.



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       5.      On November 3, 2023, after a 5-day jury trial, a jury found the Defendant guilty on

Counts One through Ten of the Indictment. See Docket Nos. 148, 149.

       6.      The evidence introduced at trial included testimony and exhibits establishing that

the Defendant obtained $575,500 in proceeds as the result of his offenses. See, e.g., Nov. 2, 2023

Tr. Trans. at 63; Tr. Ex. 162. The evidence introduced at trial also established that the Defendant

used some of those fraud proceeds to pay off loans on the Tesla ($49,777.03) 1 and the Piper

Aircraft (about $27,000) in April 2021, eight days after receipt of funds from NESN. See, e.g.,

Nov. 2, 2023 Tr. Trans. at 67, 84, 85-88; Tr. Ex. 163 (summary chart).

       7.      Trial testimony and exhibits also established that the Defendant transferred a total

of $156,000 of the fraud proceeds to a joint account at the American Broadcast Employees Federal

Credit Union. 2 See, e.g., Nov. 2, 2023 Tr. Trans. at 76, Tr. Ex. 163. As described in the attached

affidavit, approximately $46,000 in fraud proceeds were subsequently transferred to, and can be

traced to, an American Broadcast Employees Federal Credit Union Prime Share account ending in

x4170. See Affidavit of Special Agent Brendan M. Donlan, attached hereto at Exhibit A.

Money Judgment

       8.      For the reasons set forth above and at trial, $575,500 is equal to the amount of

proceeds the Defendant derived from his offenses in Counts One through Seven.

       9.      Based on the evidence and testimony presented at trial and the jury’s verdict as to

the Defendant on November 3, 2023, the United States is entitled to an Order of Forfeiture

consisting of a personal money judgment against the Defendant in the amount of $575,500,




       1
         This transaction is the offense set forth in Count Eight, for which the Defendant was
convicted.
       2
         One of these transfers, $60,000 on May 11, 2021, was charged in Count Nine, for which
the Defendant was convicted.
                                                3
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pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). 3 This amount represents proceeds

that the Defendant derived from his offense.

        10.      The entry of an Order of Forfeiture in the form of a personal money judgment is

specifically authorized by Rule 32.2(b)(1) and (c)(1) of the Federal Rules of Criminal Procedure,

and such orders of forfeiture are commonplace. See, e.g., United States v. Hall, 434 F.3d 42, 59

(1st Cir. 2006) (criminal forfeiture order may take several forms, including an in personam

judgment against defendant for amount of money defendant obtained as proceeds of offense).

        11.      Once the Order of Forfeiture is entered, the United States may move at any time,

pursuant to Rule 32.2(e)(1)(B), to amend the Order to forfeit specific property of the Defendant,

having a value up to the amount of the money judgment. See United States v. Saccoccia, 564

F.3d 502, 506-07 (1st Cir. 2009) (once government obtains money judgment, it may move at any

time to forfeit direct or substitute assets in partial satisfaction of that judgment).

        12.      Upon entry of the Order of Forfeiture, the United States may also, pursuant to Rule

32.2(b)(3) of the Federal Rules of Criminal Procedure, “conduct any discovery the court considers

proper in identifying, locating or disposing of the property” that has been forfeited to the United

States. Such discovery may include the taking of depositions of witnesses. See 21 U.S.C.

§ 853(m) and 28 U.S.C. § 2461(c) (making Section 853 applicable to all criminal forfeiture cases);

see also United States v. Saccoccia, 898 F. Supp. 53, 60 (D.R.I. 1995) (the United States can take

depositions of defense counsel to determine source of their fees for the purpose of locating a pool

of assets controlled by defendant that is subject to forfeiture). In addition, the reference in Rule

32.2(b)(3) to “any discovery the court considers proper” necessarily permits the court to authorize




        3
          The government will credit the net proceeds, after costs, recovered after the entry of final
orders of forfeiture and disposal of the Properties towards the forfeiture money judgment.
                                                   4
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discovery under the Federal Rules of Civil Procedure. Such discovery includes, but is not limited

to, the authority to issue a request for documents to a party under Rule 34 and to a non-party under

Rules 34(c) and 45.

       13.      Pursuant to Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure no ancillary

proceeding is required to the extent that the forfeiture consists of a money judgment.

Preliminary Order of Forfeiture

       14.      Based on evidence and testimony introduced at trial, the Defendant’s conviction,

and the Affidavit of Special Agent Brendan M. Donlan, the United States has established the

requisite nexus between the Properties and the offenses of which the Defendant was convicted.

Accordingly, the Properties are subject to forfeiture to the United States pursuant to 18 U.S.C.

§§ 981(a)(1)(C), 982(a)(1), and 28 U.S.C. § 2461(c). 4 In addition, any value of the Piper Aircraft

in excess of $27,000 is forfeitable as a substitute asset to be applied toward satisfaction of the

Defendant’s forfeiture money judgment pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.

§ 853(p).

       15.      Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), 28 U.S.C. § 2461(c), and Rule

32.2(b)(2) of the Federal Rules of Criminal Procedure, the United States is now entitled to a

Preliminary Order of Forfeiture against the Properties.



       4
           Specifically, $49,777.03 in fraud proceeds is directly traceable to the Tesla, and the Tesla,
in its entirety, is also forfeitable as property involved in money laundering as set forth in Count
Eight. $46,000 seized from the 4170 Account is traceable to fraud proceeds and is also property
involved in money laundering and any property traceable to such property, i.e., fraud proceeds
transferred to the Defendant’s joint account at American Broadcast Employees Federal Credit
Union as set forth in Count Nine. Thus, the Tesla and the $46,000 seized from the 4170 Account
are forfeitable pursuant to both 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) (mail fraud) and
18 U.S.C. § 982(a)(1) (money laundering). To the extent that the Piper Aircraft has a value in
excess of $27,000, the amount of fraud proceeds that went into it, any such excess value would
nonetheless be forfeitable as a substitute asset pursuant to 28 U.S.C. § 2461(c), incorporating 21
U.S.C. § 853(p).
                                                   5
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        16.      Upon the issuance of a Preliminary Order of Forfeiture and pursuant to 28 U.S.C.

§ 2461(c) and 18 U.S.C. § 982(b), both incorporating 21 U.S.C. § 853(n)(1), the United States

shall publish, for thirty (30) consecutive calendar days on the government website

www.forfeiture.gov, notice of the Preliminary Order of Forfeiture, notice of the United States’

intent to dispose of the Properties, and notice that any person, other than the Defendant, having or

claiming a legal interest in the Properties, must file a petition with the Court within sixty (60) days

after the first day of publication on the government forfeiture website or within thirty (30) days

after receipt of actual notice, whichever is earlier.

        17.      This notice shall state that the petition shall be for a hearing to adjudicate the

validity of the petitioner’s alleged interest in the Properties, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioner’s claim and the relief

sought and any additional facts supporting the petitioner’s claim and the relief sought.

        18.      The United States may also, to the extent practicable, provide direct written notice

to any person known to have alleged an interest in the Properties, as a substitute for published

notice as to those persons to be notified.

        WHEREFORE, the United States requests that this Court:

        (a)      enter the Order of Forfeiture (Money Judgment) in the form submitted herewith;

        (b)      enter the Preliminary Order of Forfeiture in the form submitted herewith;

        (c)      retain jurisdiction for the purpose of enforcing the Order of Forfeiture (Money

Judgment) and the Preliminary Order of Forfeiture;

        (d)      include the forfeiture, as set forth and in the Order of Forfeiture (Money Judgment)

and the Preliminary Order of Forfeiture, in the oral pronouncement of the Defendant’s sentence;

and


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       (e)      incorporate the Order of Forfeiture (Money Judgment) and the Preliminary Order

of Forfeiture in the criminal judgment entered against the Defendant, pursuant to Federal Rule of

Criminal Procedure 32.2(b)(4).

                                                    Respectfully submitted,

                                                    JOSHUA S. LEVY
                                                    Acting United States Attorney

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